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11    UNITED STATES OF AMERICA

12                             UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,                 No. 2:23-CR-00596-RGK-1

15               Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                                LU ZHANG
16                     v.

17    LU ZHANG,
        aka “Nikki,” et al.,
18
                 Defendants.
19

20                This constitutes the plea agreement between LU ZHANG
21    (“defendant”) and the United States Attorney’s Office for the Central
22    District of California (the “USAO”) and the United States Department
23    of Justice, Computer Crime and Intellectual Property Section (“CCIPS”
24    and together with the USAO, the “United States”) in the above-
25    captioned case.       This agreement is limited to the USAO and CCIPS and
26    cannot bind any other federal, state, local, or foreign prosecuting,
27    enforcement, administrative, or regulatory authorities.
28
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1                                DEFENDANT’S OBLIGATIONS

2                 Defendant agrees to:

3                 a.    At the earliest opportunity requested by the United

4     States and provided by the Court, appear and plead guilty to count

5     one of the indictment in United States v. Lu Zhang, et al., CR No.

6     23-596-RGK, which charges defendant with conspiracy to commit money

7     laundering, in violation of 18 U.S.C. § 1956(h).

8                 b.    Not contest facts agreed to in this agreement.

9                 c.    Abide by all agreements regarding sentencing contained
10    in this agreement.

11                d.    Appear for all court appearances, surrender as ordered

12    for service of sentence, obey all conditions of any bond, and obey

13    any other ongoing court order in this matter.

14                e.    Not commit any crime; however, offenses that would be

15    excluded for sentencing purposes under United States Sentencing

16    Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

17    within the scope of this agreement.

18                f.    Be truthful at all times with the United States
19    Probation and Pretrial Services Office and the Court.

20                g.    Pay the applicable special assessment at or before the

21    time of sentencing unless defendant has demonstrated a lack of

22    ability to pay such assessments.

23                h.    Defendant agrees that any and all criminal debt

24    ordered by the Court will be due in full and immediately.               The

25    government is not precluded from pursuing, in excess of any payment

26    schedule set by the Court, any and all available remedies by which to

27    satisfy defendant’s payment of the full financial obligation,

28    including referral to the Treasury Offset Program.

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1                 i.    Complete the Financial Disclosure Statement on a form

2     provided by the USAO and, within 30 days of defendant’s entry of a

3     guilty plea, deliver the signed and dated statement, along with all

4     of the documents requested therein, to the USAO by either email at

5     usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

6     Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

7     Angeles, CA 90012.      Defendant agrees that defendant’s ability to pay

8     criminal debt shall be assessed based on the completed Financial

9     Disclosure Statement and all required supporting documents, as well
10    as other relevant information relating to ability to pay.

11                j.    Authorize the USAO to obtain a credit report upon

12    returning a signed copy of this plea agreement.

13                k.    Consent to the USAO inspecting and copying all of

14    defendant’s financial documents and financial information held by the

15    United States Probation and Pretrial Services Office.

16                            THE UNITED STATES’ OBLIGATIONS

17                The United States agrees to:

18                a.    Not contest facts agreed to in this agreement.
19                b.    Abide by all agreements regarding sentencing contained

20    in this agreement.

21                c.    At the time of sentencing, move to dismiss the

22    remaining counts of the indictment as against defendant.              Defendant

23    agrees, however, that at the time of sentencing the Court may

24    consider any dismissed charges in determining the applicable

25    Sentencing Guidelines range, the propriety and extent of any

26    departure from that range, and the sentence to be imposed.

27                d.    At the time of sentencing, provided that defendant

28    demonstrates an acceptance of responsibility for the offense up to

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1     and including the time of sentencing, recommend a two-level reduction

2     in the applicable Sentencing Guidelines offense level, pursuant to

3     U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

4     additional one-level reduction if available under that section.

5                                 NATURE OF THE OFFENSE

6                 Defendant understands that for defendant to be guilty of

7     the crime charged in count one, that is, conspiracy to commit money

8     laundering, in violation of Title 18, United States Code, Section

9     1956(h), the following must be true:         First, there was an agreement
10    between two or more persons to engage in concealment money

11    laundering, in violation of Title 18, United States Code, Section

12    1956(a)(1)(B)(i); and second, defendant became a member of the

13    conspiracy knowing of its object and intending to help accomplish it.

14    The elements of concealment money laundering, are as follows: first,

15    defendant conducted or intended to conduct a financial transaction

16    involving property that represented the proceeds of wire fraud, in

17    violation of Title 18, United States Code, Section 1343; second,

18    defendant knew that the property represented the proceeds of some
19    form of unlawful activity; and third, defendant knew that the

20    transaction was designed in whole or in part to conceal or disguise

21    the nature, location, source, ownership, and control of the proceeds.

22                              PENALTIES AND RESTITUTION

23                Defendant understands that the statutory maximum sentence

24    that the Court can impose for a violation of Title 18, United States

25    Code, Section 1956(h), is: 20 years’ imprisonment; a three-year

26    period of supervised release; a fine of $500,000 or twice the gross

27    gain or gross loss resulting from the offense, whichever is greatest;

28    and a mandatory special assessment of $100.

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1                 Defendant understands that defendant will be required to

2     pay full restitution to the victims of the offense to which defendant

3     is pleading guilty.      Defendant agrees that, in return for the United

4     States’ compliance with its obligations under this agreement, the

5     Court may order restitution to persons other than the victims of the

6     offense to which defendant is pleading guilty and in amounts greater

7     than those alleged in the count to which defendant is pleading

8     guilty.    In particular, defendant agrees that the Court may order

9     restitution to any victim of any of the following for any losses
10    suffered by that victim as a result: any relevant conduct, as defined

11    in U.S.S.G. § 1B1.3, in connection with the offenses to which

12    defendant is pleading guilty.         The applicable amount of restitution

13    is at least $20,844,337.      The parties agree that the amount of

14    restitution could change based on facts that come to the attention of

15    the parties prior to sentencing.

16                Defendant understands that supervised release is a period

17    of time following imprisonment during which defendant will be subject

18    to various restrictions and requirements.               Defendant understands that
19    if defendant violates one or more of the conditions of any supervised

20    release imposed, defendant may be returned to prison for all or part

21    of the term of supervised release authorized by statute for the

22    offense that resulted in the term of supervised release, which could

23    result in defendant serving a total term of imprisonment greater than

24    the statutory maximum stated above.

25                Defendant understands that, by pleading guilty, defendant

26    may be giving up valuable government benefits and valuable civic

27    rights, such as the right to vote, the right to possess a firearm,

28    the right to hold office, and the right to serve on a jury. Defendant

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1     understands that she is pleading guilty to a felony and that it is a

2     federal crime for a convicted felon to possess a firearm or

3     ammunition.     Defendant understands that the conviction in this case

4     may also subject defendant to various other collateral consequences,

5     including but not limited to revocation of probation, parole, or

6     supervised release in another case and suspension or revocation of a

7     professional license.      Defendant understands that unanticipated

8     collateral consequences will not serve as grounds to withdraw

9     defendant’s guilty plea.
10          9.    Defendant and his counsel have discussed the fact that, and

11    defendant understands that, if defendant is not a United States

12    citizen, the conviction in this case makes it practically inevitable

13    and a virtual certainty that defendant will be removed or deported

14    from the United States.      Defendant may also be denied United States

15    citizenship and admission to the United States in the future.

16    Defendant understands that while there may be arguments that

17    defendant can raise in immigration proceedings to avoid or delay

18    removal, removal is presumptively mandatory and a virtual certainty
19    in this case.     Defendant further understands that removal and

20    immigration consequences are the subject of a separate proceeding and

21    that no one, including her attorney or the Court, can predict to an

22    absolute certainty the effect of her conviction on her immigration

23    status.    Defendant nevertheless affirms that she wants to plead

24    guilty regardless of any immigration consequences that her plea may

25    entail, even if the consequence is automatic removal from the United

26    States.

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1                                      FACTUAL BASIS

2                 Defendant admits that defendant is, in fact, guilty of the

3     offense to which defendant is agreeing to plead guilty.              Defendant

4     and the United States agree to the statement of facts provided below

5     and agree that this statement of facts is sufficient to support a

6     plea of guilty to the charge described in this agreement and to

7     establish the Sentencing Guidelines factors set forth in paragraph 12

8     below but is not meant to be a complete recitation of all facts

9     relevant to the underlying criminal conduct or all facts known to
10    either party that relate to that conduct.

11          Beginning from at least September 2022, and continuing through

12    at least March 21, 2023, in Los Angeles County, within the Central

13    District of California, and elsewhere, defendant knowingly conspired

14    with JOSEPH WONG, JUSTIN WALKER, and HAILONG ZHU, and others, to

15    conduct financial transactions involving property that represented

16    the proceeds of wire fraud, in violation of Title 18, United States

17    Code, Section 1343.      Defendant became a member of the conspiracy

18    knowing of at least one of its objects and intending to help
19    accomplish it.

20          Defendant admits that she conspired with WONG, WALKER, and ZHU

21    to launder funds obtained from victims through cryptocurrency scams

22    and related frauds, as described in count one of the indictment, and

23    admits that the factual allegations described in count one are true

24    and accurate.     Defendant knew that the property involved in the

25    financial transactions represented, and would represent, the proceeds

26    of some form of unlawful activity; that the transactions were, and

27    would be, designed in whole or in part to conceal or disguise the

28    nature, location, source, ownership, and control of the proceeds; and

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1     that defendant and codefendants laundered at least $20 million in

2     fraudulently obtained funds.

3           In furtherance of the conspiracy, defendant managed a network of

4     money launderers within Los Angeles County, and elsewhere.               Defendant

5     communicated with her co-conspirators and coordinated acts in

6     furtherance of the conspiracy through an encrypted messaging service.

7     In order to conceal or disguise the nature, location, source,

8     ownership, and control of the fraudulently obtained victim funds,

9     defendant and WONG, WALKER, and ZHU received victim funds in bank
10    accounts established on behalf of shell companies and caused the

11    further transfer of victim funds to domestic and international bank

12    accounts.    Defendant and other co-conspirators also registered shell

13    companies with the California Secretary of State, including Sea

14    Dragon Trading and Sea Dragon Remodel and opened bank accounts in the

15    names of various shell companies, including Sea Dragon Trading and

16    Sea Dragon Remodel, with United States financial institutions.

17    Defendant and other co-conspirators arranged for the transfer of the

18    fraudulently obtained proceeds via interstate and international wire
19    transfers.

20          Defendant made phone calls to United States financial

21    institutions and falsely represented that she was the accountholder

22    when, in fact, another co-conspirator was the accountholder.               During

23    these calls, defendant and others tried to unfreeze accounts that

24    banks had restricted due to fraud concerns.            Defendant and other co-

25    conspirators traveled to financial institutions within the Central

26    District of California to access funds in the bank accounts used to

27    launder fraud proceeds.

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1           Defendant admits that at least $20 million in victim funds were

2     directly deposited into bank accounts associated with defendant and

3     her co-conspirators, and more than $2.2 million in victim funds were

4     directly deposited into bank accounts associated with the Sea Dragon

5     shell entities.

6                                   SENTENCING FACTORS

7                 Defendant understands that in determining defendant’s

8     sentence the Court is required to calculate the applicable Sentencing

9     Guidelines range and to consider that range, possible departures
10    under the Sentencing Guidelines, and the other sentencing factors set

11    forth in 18 U.S.C. § 3553(a).         Defendant understands that the

12    Sentencing Guidelines are advisory only, that defendant cannot have

13    any expectation of receiving a sentence within the calculated

14    Sentencing Guidelines range, and that after considering the

15    Sentencing Guidelines and the other § 3553(a) factors, the Court will

16    be free to exercise its discretion to impose any sentence it finds

17    appropriate up to the maximum set by statute for the crime of

18    conviction.
19                Defendant and the United States agree to the following

20    applicable Sentencing Guidelines factors:

21        Base Offense Level:                      8          U.S.S.G. § 2S1.1(a)(2)
                                                                 U.S.S.G. § 2X1.1(a)
22
          Laundered Funds Between More           +16     U.S.S.G. § 2B1.1(b)(1)(I)
23
          Than $1,500,000 and More Than           to
          $25,000,000                            +22     U.S.S.G. § 2B1.1(b)(1)(L)
24
          Conviction Under § 1956                 +2     U.S.S.G. § 2S1.1(b)(2)(B)
25
          Sophisticated Money                     +2          U.S.S.G. § 2S1.1(b)(3)
26        Laundering
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1    Defendant and the United States reserve the right to argue that

2    additional specific offense characteristics, adjustments, and

3    departures under the Sentencing Guidelines are appropriate, including

4    the application of U.S.S.G. § 3B1.1(a).        Specifically, the government

5    reserves the right to argue that defendant should receive up to a 22-

6    level enhancement for laundered funds exceeding $25,000,000, under

7    U.S.S.G. § 2B1.1(b)(1)(L), and defendant reserves the right to argue

8    that defendant should receive no more than a 16-level enhancement for

9    laundered funds exceeding $1,500,000, under U.S.S.G.
10   § 2B1.1(b)(1)(I).

11              Defendant understands that there is no agreement as to

12   defendant’s criminal history or criminal history category.

13              Defendant and the United States reserve the right to argue

14   for a sentence outside the sentencing range established by the

15   Sentencing Guidelines based on the factors set forth in 18 U.S.C.

16   § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7).

17                        WAIVER OF CONSTITUTIONAL RIGHTS

18              Defendant understands that by pleading guilty, defendant
19   gives up the following rights:

20              a.   The right to persist in a plea of not guilty.

21              b.   The right to a speedy and public trial by jury.

22              c.   The right to be represented by counsel –- and if

23   necessary have the Court appoint counsel -- at trial.          Defendant

24   understands, however, that, defendant retains the right to be

25   represented by counsel –- and if necessary have the Court appoint

26   counsel –- at every other stage of the proceeding.

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1               d.   The right to be presumed innocent and to have the

2    burden of proof placed on the government to prove defendant guilty

3    beyond a reasonable doubt.

4               e.   The right to confront and cross-examine witnesses

5    against defendant.

6               f.   The right to testify and to present evidence in

7    opposition to the charges, including the right to compel the

8    attendance of witnesses to testify.

9               g.   The right not to be compelled to testify, and, if
10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.   Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                            WAIVER OF APPEAL OF CONVICTION

16              Defendant understands that, with the exception of an appeal

17   based on a claim that defendant’s guilty plea was involuntary, by

18   pleading guilty defendant is waiving and giving up any right to
19   appeal defendant’s conviction on the offense to which defendant is

20   pleading guilty.     Defendant understands that this waiver includes,

21   but is not limited to, arguments that the statute to which defendant

22   is pleading guilty is unconstitutional, and any and all claims that

23   the statement of facts provided herein is insufficient to support

24   defendant’s plea of guilty.

25             WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

26              Defendant agrees that, provided the Court imposes a total

27   term of imprisonment on all counts of conviction within or below the

28   range corresponding with an offense level of 34 and the criminal

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1    history category calculated by the Court, defendant gives up the

2    right to appeal all of the following: (a) the procedures and

3    calculations used to determine and impose any portion of the

4    sentence; (b) the term of imprisonment imposed by the Court; (c) the

5    fine imposed by the Court, provided it is within the statutory

6    maximum; (d) to the extent permitted by law, the constitutionality or

7    legality of defendant’s sentence, provided it is within the statutory

8    maximum; (e) the term of probation or supervised release imposed by

9    the Court, provided it is within the statutory maximum; and (f) any
10   of the following conditions of probation or supervised release

11   imposed by the Court: the conditions set forth in Second Amended

12   General Order 20-04 of this Court; the drug testing conditions

13   mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and

14   drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

15              Defendant also gives up any right to bring a post-

16   conviction collateral attack on the conviction or sentence, including

17   any order of restitution, except a post-conviction collateral attack

18   based on a claim of ineffective assistance of counsel, a claim of
19   newly discovered evidence, or an explicitly retroactive change in the

20   applicable Sentencing Guidelines, sentencing statutes, or statutes of

21   conviction.   Defendant understands that this waiver includes, but is

22   not limited to, arguments that the statute to which defendant is

23   pleading guilty is unconstitutional, and any and all claims that the

24   statement of facts provided herein is insufficient to support

25   defendant’s plea of guilty.

26              The United States agrees that, provided (a) all portions of

27   the sentence are at or below the statutory maximum specified above

28   and (b) the Court imposes a term of imprisonment within or above the

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1    range corresponding with an offense level of 34 and the criminal

2    history category calculated by the Court, the United States gives up

3    its right to appeal any portion of the sentence with the exception

4    that the United States reserves the right to appeal the amount of

5    restitution ordered if that amount is less than $20,844,337.

6                        RESULT OF WITHDRAWAL OF GUILTY PLEA

7                 Defendant agrees that if, after entering a guilty plea

8    pursuant to this agreement, defendant seeks to withdraw and succeeds

9    in withdrawing defendant’s guilty plea on any basis other than a
10   claim and finding that entry into this plea agreement was

11   involuntary, then (a) the United States will be relieved of all of

12   its obligations under this agreement; and (b) should the United

13   States choose to pursue any charge that was either dismissed or not

14   filed as a result of this agreement, then (i) any applicable statute

15   of limitations will be tolled between the date of defendant’s signing

16   of this agreement and the filing commencing any such action; and

17   (ii) defendant waives and gives up all defenses based on the statute

18   of limitations, any claim of pre-indictment delay, or any speedy
19   trial claim with respect to any such action, except to the extent

20   that such defenses existed as of the date of defendant’s signing this

21   agreement.

22                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

23                Defendant agrees that if the count of conviction is

24   vacated, reversed, or set aside, both the USAO and defendant will be

25   released from all their obligations under this agreement.

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1                             EFFECTIVE DATE OF AGREEMENT

2               This agreement is effective upon signature and execution of

3    all required certifications by defendant, defendant’s counsel, and an

4    Assistant United States Attorney.

5                                 BREACH OF AGREEMENT

6               Defendant agrees that if defendant, at any time after the

7    signature of this agreement and execution of all required

8    certifications by defendant, defendant’s counsel, and an Assistant

9    United States Attorney, knowingly violates or fails to perform any of
10   defendant’s obligations under this agreement (“a breach”), the United

11   States may declare this agreement breached.           All of defendant’s

12   obligations are material, a single breach of this agreement is

13   sufficient for the United States to declare a breach, and defendant

14   shall not be deemed to have cured a breach without the express

15   agreement of the United States in writing.        If the United States

16   declares this agreement breached, and the Court finds such a breach

17   to have occurred, then: (a) if defendant has previously entered a

18   guilty plea pursuant to this agreement, defendant will not be able to
19   withdraw the guilty plea, and (b) the United States will be relieved

20   of all its obligations under this agreement.

21              Following the Court’s finding of a knowing breach of this

22   agreement by defendant, should the United States choose to pursue any

23   charge that was either dismissed or not filed as a result of this

24   agreement, then:

25              a.   Defendant agrees that any applicable statute of

26   limitations is tolled between the date of defendant’s signing of this

27   agreement and the filing commencing any such action.

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1               b.   Defendant waives and gives up all defenses based on

2    the statute of limitations, any claim of pre-indictment delay, or any

3    speedy trial claim with respect to any such action, except to the

4    extent that such defenses existed as of the date of defendant’s

5    signing this agreement.

6               c.   Defendant agrees that: (i) any statements made by

7    defendant, under oath, at the guilty plea hearing (if such a hearing

8    occurred prior to the breach); (ii) the agreed to factual basis

9    statement in this agreement; and (iii) any evidence derived from such
10   statements, shall be admissible against defendant in any such action

11   against defendant, and defendant waives and gives up any claim under

12   the United States Constitution, any statute, Rule 410 of the Federal

13   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

14   Procedure, or any other federal rule, that the statements or any

15   evidence derived from the statements should be suppressed or are

16   inadmissible.

17          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

18                                OFFICE NOT PARTIES
19              Defendant understands that the Court and the United States

20   Probation and Pretrial Services Office are not parties to this

21   agreement and need not accept any of the United States’ sentencing

22   recommendations or the parties’ agreements to facts or sentencing

23   factors.

24              Defendant understands that both defendant and the United

25   States are free to: (a) supplement the facts by supplying relevant

26   information to the United States Probation and Pretrial Services

27   Office and the Court, (b) correct any and all factual misstatements

28   relating to the Court’s Sentencing Guidelines calculations and

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1    determination of sentence, and (c) argue on appeal and collateral

2    review that the Court’s Sentencing Guidelines calculations and the

3    sentence it chooses to impose are not error, although each party

4    agrees to maintain its view that the calculations in paragraph 12 are

5    consistent with the facts of this case.        While this paragraph permits

6    both the United States and defendant to submit full and complete

7    factual information to the United States Probation and Pretrial

8    Services Office and the Court, even if that factual information may

9    be viewed as inconsistent with the facts agreed to in this agreement,
10   this paragraph does not affect defendant’s and the United States’

11   obligations not to contest the facts agreed to in this agreement.

12              Defendant understands that even if the Court ignores any

13   sentencing recommendation, finds facts or reaches conclusions

14   different from those agreed to, and/or imposes any sentence up to the

15   maximum established by statute, defendant cannot, for that reason,

16   withdraw defendant’s guilty plea, and defendant will remain bound to

17   fulfill all defendant’s obligations under this agreement.           Defendant

18   understands that no one –- not the prosecutor, defendant’s attorney,
19   or the Court –- can make a binding prediction or promise regarding

20   the sentence defendant will receive, except that it will be within

21   the statutory maximum.

22                             NO ADDITIONAL AGREEMENTS

23              Defendant understands that, except as set forth herein,

24   there are no promises, understandings, or agreements between the

25   United States and defendant or defendant’s attorney, and that no

26   additional promise, understanding, or agreement may be entered into

27   unless in a writing signed by all parties or on the record in court.

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